        Case 8:21-cv-01651-JVS-ADS Document 12 Filed 12/20/21 Page 1 of 1 Page ID #:46

Marija Kristich Decker, SBN. 207387
Laquer, Urban, Clifford & Hodge LLP
200 South Los Robles Ave., Suite 500
Pasadena, CA 91101




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
Trustees of the Operating Engineers Pension Trust, et al.            CASE NUMBER
                                                                       8:21-cv-01651-JVS-ADS
                                                     Plaintiff(s),
                              v.
RMF Contracting, Inc., a California corporation doing
                                                                           NOTICE OF DISMISSAL PURSUANT
business as R & M Electrical Contracting,
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    ✔ This action is dismissed by the Plaintiff(s) in its entirety.
    G

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by                                                                                                      .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




     December 20, 2021                               /s/ - Marija Kristich Decker
               Date                                                   Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
